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ATTORNEY FOR PLAINTIFF(S)

 

 

Plaintiff(s)
UNITED STATES DISTRICT COURT

ABDUL AGABALOGUN AND _~ EMI | FOR THE DISTRICT OF NEW JERSEY
AGABALOGUN,

: CASE NO.

Vs. “

Defendant(s) CIVIL ACTION
AMARJIT BOLA; JAMES RIVER COMPLAINT AND JURY DEMAND

INSURANCE CQ.; JOHN DOE I through
JOHN DOE V; Fictitious Names, j/s/a;

 

 

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PARTIES: Plaintiffs:
Abdul Agabalogun and Emi Agabalogun
23. Hartford Drive

Egg Harbor Twp., NJ 08234

Defendants: James River Insurance Co.
Amarjit Bola 6641 Broad Street, Unit 300
132 Marlboro Road Richmond, VA 23230

Upper Darby, PA 19082

John Dog I through John Doe V, unknown identity, residents, citizens, and/or entities of the

Commonwealth of Pennsylvania, upon information and belief.

JURISDICTION

Jurisdiction is based upon diversity of State citizenship, pursuant to 28 U.S.C. 1332.

Plaintiffs are at the time of filing of the Complaint, have been and are citizens and residents of the

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State of New Jersey only. The defendant, Amarjit Bola, is not a citizen or resident in the State of
New Jersey, but only a citizen, and resident of the Commonwealth of Pennsylvania.

The defendant, James River Insurance Co., is a Virginia corporation with corporate home
office located in Richmond, VA, and is not a corporation of the State of New Jersey, and does not
have corporate offices in New Jersey

The amount in controversy exceeds $75,000.00.

CAUSE OF ACTION
1s At all times mentioned herein and pertinent hereto, at the time of the filing of this
Complaint Plaintiffs are and have been citizens and residents of the State of New Jersey.

2. On or about February 3, 2017, Plaintiff, Abdul Agabalogun, was operating a motor vehicle
owned by him, southbound on University Avenue at the intersection with Curie Avenue, in the City of
Philadelphia, Commonwealth of Pennsylvania, stopped at a red light.

3. At the time and place aforementioned defendant, Amarjit Bola, was operating a motor
vehicle owned by him, behind Plaintiffs vehicle.

4. Atthe time and place aforementioned, the defendant, Amarjit Bola, drove his vehicle into
the rear of Plaintiff?’ s vehicle, causing plaintiff's vehicle to strike the rear of a preceding vehicle, and
Plaintiff sustained serious injuries, and property damage.

5. Atthe time and place aforementioned, the defendant, Amarjit Bola, was negligent, which
negligence consisted of the following, without limitation: Failure to pay proper attention to the roadway
and vehicles preceding his on the roadway; failure to properly stop or yield; failure to properly warn,
traveling at an unsafe speed under the attendant circumstances; failure to take reasonable steps to avoid a
collision; failure to leave a safe following distance; violation of various statutes and ordinances governing
the operation of motor vehicles on roadways in the City of Philadelphia and Commonwealth of
Pennsylvania, including but not limited to careless driving, and was otherwise careless, negligent, and
inattentive. ;

6. Asa dircet and proximate result of the aforementioned negligence and wrongful conduct of the
defendant, Amarjit Bola, plaintiff, Abdul Agabalogun was caused to sustain severe, permanent and painful

bodily injuries, causing him to endure and in the future will endure severe pain and suffering, causing him

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to spend and will in the future spend large sums of monies for medical treatment, causing him to be unable
and will in the future be unable to attend to his normal duties, activities, relationships, and occupations.
WHEREFORE, Plaintiff, Abdul Agabalogun, demands judgment against the defendant, Amarjit

Bola, for damages, interest, attorneys fees, costs of suit, and for such other relief as allowed by law.

SECOND COUNT

Ls Plaintiff repeats the allegations of the first Count as set forth fully herein.

2. Asa direct and proximate result of the aforementioned negligence and wrongful conduct of the
defendant, Amarjit Bola, plaintiffs vehicle was caused to sustain extensive property damage, repair
expenses, sea transportation expenses, diminution of the market value of their vehicle, lost income,
and other property damage related losses.

WHEREFORE, Plaintiff, Abdul Agabalogun, demands judgment against the defendant, Amarjit

Bola, for damages, interest, attorneys fees, costs of suit, and for such other relief as allowed by law.

: THIRD COUNT

1. Plainilfts repeat the allegations of the First Two Counts as if set forth herein.

2. At all times mentioned herein and pertinent hereto, plaintiff, Emi Agabalogun, was and is the
wife of plaintiff, ‘Abdul Agabalogun, residing with him.

3. Asa direct and proximate result of the aforementioned negligence of the defendant, Amarjit
Bola, plaintiff, Ba, has incurred and will incur medical and other bills for her husband, and has incurred
and will incur the loss of the normal relationship, consortium, services, activities, and income, with her
husband, plaintiff, Abdul Agabalogun..

WHEREFORE, Plaintiffs, Abdul Agabalogun and Emi Agabalogun, demand judgment against
defendant, Amarjit Bola, for damages, costs of suit, interest, attorneys fees, and for such other relief as
allowed by law. ;

FOURTH COUNT

1, Plaintiffs repeat the allegations of the First Three Counts as if set forth fully herein.

2. At alltimes mentioned herein and pertinent hereto plaintiff, Abdul Agabalogun, was operating
his vehicle as an Uber driver and pursuant to an agreement between Uber and plaintiff, plaintiff was
insured by and covered by a policy of insurance issued by defendant James River Insurance Company for

Uber and covering plaintiff, (hereinafter referred to as James River).
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3, Atall times mentioned herein and pertinent hereto, defendant, James River, was a corporation
with headquarters located in the State of Virginia, with home offices located at 6641 Broad Street, Unit
300, Richmond, VA 23230.

4. Defendant, James River, was required to provide no fault/personal injury protection (PIP)
coverage for plaintiff, Abdul Agabalogun, to cover his medical bills, essential service costs, and lost
earnings, arising out of the subject accident.

5s Defendant, James River, was required to provide first party benefits to plaintiff for property
damage related losses, including but not limited to repairs to plaintiff's vehicle, replacement of the
plaintiff's vehicle, towing and storage costs, alternative transportation expenses, and lost income resulting
from the lost use of the vehicle

6. Despite demand, defendant, James River, has failed or refused to provide all of the PIP and
other first party benefits plaintiff is entitled to under its policy.

7.. The failure or refusal of James River to pay all of the first party insurance benefits plaintiff is
entitled to under the policy, constitutes a breach of contract, and breach of statutory, and regulatory duty, of
defendant, J ames River, toward plaintiff, and constitutes bad faith.

8. Asa direct and proximate result of the aforementioned breach of contract and statutory, and
regulatory duty, and bad faith, on the part of defendant, James River, plaintiffhas and will sustain damages
and losses as aforementioned, which should be covered by the policy, as well as attorney’s fees, costs, and
interest.

WHEREFORE, Plaintiffs, Abdul Agabalogun and Emi Agabalogun, demand judgment against the
defendants, Amarjit Bola, and James River Insurance Co., jointly, severally, and in the alternative, for
damages, costs of suit, interest, attorneys fees, and for such other relief as allowed by law, including an
Order compelling defendant James River Insurance Co., to provide all of the insurance benefits plaintiff is
eniftiedin, ©

: FIFTH COUNT

bs Plaintiffs repeat the allegations of the First Four Counts as if set forth herein.

2: Defendants, John Doe I through John Doe V are unknown persons, business, or government
entities. :

a. Although Plaintiffs have made a diligent inquiry, the actual identity of the defendants, John
Doe I through John Doe V, are unknown to the plaintiff, and accordingly are designated by fictitious

names.
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4, Defesdant John Doe I is any other insurance carrier or entity that should have paid the personal
injury protections or other insurance benefits to or for the benefit of plaintiff and breached contractual,
statutory, and regulatory duties in failing to do so, proximately causing damages and losses to plaintiff as
aforementioned, that should be paid by defendant John Doe I.

5. Defendant John Doe II was the operator of the motor vehicle that rear ended Plaintiff's
vehicle, and was both negligent and reckless, in the operation of the vehicle, as more particularly
described in the First Count of this Complaint, as to the specifically named defendant Bola, and John
Doe II directly and proximately caused plaintiff's damages and losses aforementioned.

6. At all times mentioned and pertinent hereto defendant John Doe III was the principal for
which Defendant, Bola or John Doe II, was an agent, servant, or employee, and defendants John Doe II
and/or Bola were acting as a agent, servant, employee or otherwise for the direct benefit of defendant
John Doe II, and J ohn Doe III is responsible for the negligent and wrongful conduct of defendants John
Doe II and Bola, under the theory of respondent superior, and negligent selection, entrustment, hiring,
training, and supervision.

7. The defendants, John Doe IV and V are persons or entities otherwise liable to Plaintiffs for their
injuries, damages, and losses as aforementioned, under any theory, at law, equity, contractual, statutory, or
otherwise. !

8. Asadirect and proximate result of the aforementioned negligent and wrongful conduct and
breach of contractual duty on the part of defendants John Doe I through John Doe V, Plaintiffs sustained
damages and losses as aforementioned.

WHEREFORE, Plaintiffs, Abdul Agabalogun and Emi Agabalogun, demand judgment against the
defendants, Amarjit Bola, and John Doe! through V jointly, severally and in the alternative, for damages,
interest, attorneys” fees and costs of suit, and an Order compelling defendant, James River Insurance Co.,
and John Doe I, “to pay all of the first party benefits Plaintiff is entitled to, and for such other relief as
allowed by law. a

JURY DEMAND

A Trial by Jury is hereby demanded on all issues.

JERRY'\C. GOLDHAGEN, ESQUIRE
Attorney for Plaintiffs

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Dated: Februaryal, 2019
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CERTIFICATION

Iam an attorney admitted to practice law in the State of New Jersey, counsel for the above-named
Plaintiff. The matter in controversy in this case is not the subject of any other action pending in any
court or of a pending arbitration proceeding, nor is any other action or arbitration proceeding
contemplated. There are no other parties who should be joined in this action, except for specifically
designating those defendants presently designated by fictitious names.

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

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‘ JERRY\C\ GOLDHAGEN
e Attorney ‘for Plaintiffs
TAKE NOTICE that the undersigned attorney, counsel for Plaintiff, does hereby demand, that
each party hereirilserving pleadings, interrogatories and Notices to Produce Documents and receiving
answers thereto, Serve copies of all such pleadings, and provide answered interrogatories received from

any party, including any documents, papers, and other materials referred to therein, upon the undersigned

attorney, and TAKE NOTICE that this is a continuing demand.

| :
JERRY \C. GOLDHAGEN
Attorney for Plaintiffs

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TAKE NOTICE that the under signed attorney, counsel for Plaintiff, does hereby demand,

answers to all applicable Form interrogatories prescribed by the Court Rules, and the annexed

Interrogatories. -
TAKE NOTICE that the undersigned, attorney, counsel for plaintiff, does hereby demand

responses to the Notice to Produce Documents annexed to the within Complaint, as Exhibit A, within the
time limits prescribed by the Rules of the Court.

: JERRY €. GOLDHAGEN
Attorney for Plaintiffs

Date: February 1, 2019

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INTERROGATORIES

1. State (a) the full name and residence address of each defendant; (b) if a corporation, the exact
corporate name; and (c) if a partnership, the exact partnership name and the full name and residence
address of each partner.

2. Describe in detail your version of the accident or occurrence setting forth the date, location,
time and weather.

3. If you intend to set up or plead or have set up or pleaded negligence or any other separate
defense as to the plaintiff or if you have or intend to set up a counterclaim or third-party action, (a) state
the facts upon which you intend to predicate such defenses, counterclaim or third party action; and (b)
identify a copy of every document relating to such facts.

4. State ithe names and addresses of all persons who have knowledge of any relevant facts
relating to the case.

5. State 4) the name and address of any person who has made a statement regarding this lawsuit;
(b) whether the statement was oral or in writing; (c) the date the statement was made; (d) the name and
address of the person to who the statement was made; (e) the name and address of each person present
when the statement was made; and (f) the name and address of each person who has knowledge of the
statement. =

Unless subject to a claim of privilege, which must be specified: (g) attach a copy of the statement,
if it is in writing; (h) if the statement was oral, state whether a recording was made and, if so, set forth
the nature of the recording and the name and address of the person who has custody of it; and (i) if the

statement was oral and no recording was made, provide a detailed summary of its contents.

6. If you claim that plaintiff made any statements or admissions as to the subject matter of this
lawsuit, state: (a), the date made; (b) the name of the person by whom made; (c) the name and address of
the person to whom made; (d) where made; (e) the name and address of each person present at the time
the admission was made; (f) the contents of the admission; and (g) if in writing, attach a copy.

7. Ifyou Rontend that the plaintiff's damages were caused or contributed to by the negligence of
any other person, set forth the name and address of the other person and the facts upon which you will
rely in establishing that negligence.

8. State ‘the names and addresses of all eye witnesses to the accident or occurrence, their
relationship to you and their interest in this lawsuit.

9. If any. ‘photographs, videotapes, audio tapes or other forms of electronic recording, sketches,
reproductions, charts or maps were made with respect to anything that is relevant to the subject matter of
the complaint, describe: (a) the number of each; (b) what each shows or contains; (c) the date taken or
made; (d) the names and addresses of the persons who made them; (e) in whose possession they are at

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present and (f) ifin your possession, attach a copy, or if not subject to convenient copying, state the
location where inspection and copying may take place.

10. State the names and addresses of any and all proposed expert witnesses. Set forth in detail
the qualifications of each expert named and attach a copy of each expert's current resume. Also attach
true copies of all-written reports provided to you by any such proposed expert witnesses.

With respect to all expert witnesses, including treating physicians, who are expected to testify at
trial, and with respect to any person who has conducted an examination pursuant to Rule 4:19, state each
such witness's name, address and area of expertise and attach a true copy of all written reports provided
to you. Ifa report is not written, supply a summary of any oral report provided to you.

State the subj ect matter on which your experts are expected to testify.

State the substance of the facts and opinions to which your experts are expected to testify and provide a
summary of the factual grounds for each opinion.

11. If you contend or intend to contend at the time of trial that the plaintiff sustained personal
injuries in any prior or subsequent accident, state: (a) the date of said accident; (b) the injuries you
contend that plaintiff sustained; (c) the parties involved in said accident; (d) the source from which you
obtained the information; and (e) attach a copy of any written documents regarding this information.

12. If you intend to rely on any statute, rule, regulation or ordinance, state the exact title and
section.

13. State whether there are any insurance agreements including excess policies under which any
person or firm carrying on an insurance business may be liable to satisfy part or all of a judgment that
may be entered in this action or to indemnify or reimburse for payments made to satisfy the judgment.
YES ( )or NO: ( i

If the answer is "YES", attach a copy of each insurance agreement or policy, or in the alternative
state: (a) number; (b) name and address of insurer or issuer; (c) inception and expiration dates; (d) names
and addresses of all persons insured thereunder; (e) personal injury limits; (f) property damage limits; (g)
medical payment: ‘limits; (h) name and address of person who has custody and possession thereof; and (i)
where and when ‘éach policy or agreement can be inspected and copied.

14. Identify all documents that may relate to this action, and attach copies of each such
document.

15, State whether you have ever been convicted of a crime.
YES () or NO ().
If the answer is ‘YES: state (a) date; (b) place; and (c) nature

16. Do ‘you, or does any person acting on your behalf, have any reports concerning the
occurrence of plaintiff s injury? YES () or NO ().

If the ansiver is "YES", state: (a) the full name, present or last known address and telephone
number of the person making it; (b) the date made; (c) the purpose of each report, including, but not
limited to, investigatory or accident report; (d) the field of expertise and relationship to you of the person

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making it; (e) whether or not it was made in the regular course of business; (f) the findings; (g) whether
it was written or oral; and (h) if written, attach a copy hereto, and if oral, set forth the substance thereof.

if. State whether any repairs were made to the premises or property or Defendants’ vehicle after
plaintiff's injury. YES () or NO ().

If the answer is "YES", state: (a) the full name and present or last known address of each person
who endeavored to correct the condition; (b) indicate the nature of the work performed; and (c) describe
in detail the exact nature and location of the condition as it was found to exist prior to any work
performed, and attach repair bills, and estimate and photographs.

18. Was the answering defendant driving the vehicle at the time of the accident as an agent,
servant, or employee, or the direct benefit for any other person or entity, and if so, state the name and
address of the other person or entity, and the relationship with the answering defendant, at the time of the
accident.

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EXHIBIT "A"

1. Results of any CIB check on Plaintiffs.

2. Photographs, video tapes, sound recordings, diagrams or other depictions of any persons,
locations, vehicles, objects or products which involve the subject matter of this lawsuit.

3. Repair estimates, repair invoices, proof of payment for repairs, proof of payment for totaled
vehicle, for any vehicle, object, location or product involved in the incident which is the subject of this
lawsuit.

4. Declaration sheet for any insurance policy covering the plaintiff's claims at the time of the
incident which is the subject matter of this lawsuit, and the declaration sheet for any excess or umbrella
coverage.

5. Any statements provided, completed, written and/or signed by the plaintiffs, or agents, servants
or employees of plaintiffs, in any form, or any memorialization of such statements.

6. Statements of any defendants, or their agents, servants and employees, in any form regarding the
subject matter of this lawsuit, (other than statements to their attorneys).

7. Any aceident, incident, security or similar form produced by Defendants, or its agents, servants
or employees regarding the incident which is the subject matter of this lawsuit, including, without limitation
any employee's statements.

8. Reports of any proposed expert witnesses for trial and their current resumes, and any learned
treatises, or articles they may rely upon.

9. The entire contents of any investigation file or files and any other documentary material in your
possession which support or relate to the allegations of plaintiffs Amended Complaint (excluding
references to mefital impressions, conclusions or opinions representing the value or merit of the claim or

defense or respecting strategy or tactics and privileged communications to and from counsel).

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10. Any and all statements concerning this action, from any witnesses including any statements
from the parties a or their respective agents, servants or employees.

11. Any and all documents containing the name, home and business address of all individuals
contacted as potential witnesses.

12. The drivers license of the operator of the vehicle involved in plaintiffs accident, then and now.

13. The registration for the vehicle involved in plaintiff's accident, then and now.

14. The Dec Sheet for any liability carrier covering the defendant vehicle.

NOTE: As to any documents claimed to be non-discoverable, state the basis for this

position, and describe the document, (e.g. date, author, recipient, form, purpose, etc.), with sufficient

specificity to permit plaintiffs and the Court to determine the validity of defendants’ position.

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JS 44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither is nor muvpicinent the filing and service of pleadings or other papers as reqined by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in eptember 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEL INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS ARDUL AGH SALOGUN BEEENDANTS Anh R\y BoA
Emr AGARRLOGUp FHmrcs RyeR BNNRANCE Ca _

(b) County of Residence of First Listed Plaintiff Si | Ast 1c County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

 

 

 

 

 

 

     
   

       
 

 

 

 

 

 

    

 

   

 

 

 

 

 

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) , Attorneys (if Known)
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La tndup AK ofa, 604-419 Ay
II. BASIS OF JURISDICTION (Place an "X" in One Bax Only) III, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1 U.S, Government O 3 Federal Question DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State wi © 1 Incorporated or Principal Place O4 oO4
of Business In This State
2. U.S. Government 4 Diversity Citizen of Another State a2 of 2 Incorporated and Principal Place aos As
Defendant (indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only)
To cONTRA GTI =e VRIOR Le DSFORPEMUREPENALTV —_ : eae | aes i
© 110 Insurance PERSONAL INJURY PERSONALINJURY [0 625 Drug Related Seizure ©) 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine O 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
OF 130 Miller Act © 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical [==PROPERTYRIGHTSI==N CO 410 Antitrust
& Ente of Judg Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
O 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
0 152 Recovery of Defaulted Liability © 368 Asbestos Personal © 835 Patent - Abbreviated O 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) O 345 Marine Product Liability O_840 Trademark Corrupt Organizations
(153 Recovery of Overpayment Liability PERSONAL PROPERTY | ss LABORS nn | ESOCIAISSECURITY === C) 480 Consumer Credit
of Veteran's Benefits so Motor Vehicle © 370 Other Fraud O 710 Fair Labor Standards O 861 HIA (1395ff) O 490 Cable/Sat TV
© 160 Stockholders’ Suits O 355 Motor Vehicle © 371 Truth in Lending Act © 862 Black Lung (923) © 850 Securities/Commodities/
© 190 Other Contract Product Liability O 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | (0 360 Other Personal Property Damage Relations 0 864 SSID Title XVI O 890 Other Statutory Actions
0 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act 865 RSI (405(g)) © 891 Agricultural Acts
O 362 Personal Injury - Product Liability © 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act (1 895 Freedom of Information
TY. os “CIV RIGHTS) | PRI. ER PET! S$") 790 Other Labor Litigation i AL! bs Act
O 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement O 870 Taxes (U.S. Plaintiff OF 896 Arbitration
O 220 Foreclosure ©) 441 Voting O 463 Alien Detainee Income Security Act or Defendant) © 899 Administrative Procedure
© 230 Rent Lease & Ejectment O 442 Employment 0 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations O 530 General OF 950 Constitutionality of
© 290 All Other Real Property —_ | 1 445 Amer, w/Disabilities -] 1 535 Death Penalty [Da IMMIGRATION =a State Statutes
Employment Other: ©) 462 Naturalization Application
(7 446 Amer. w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration
Other O $50 Civil Rights Actions
© 448 Education © 555 Prison Condition
D 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "X” in One Box Only)
O1 Original, O2 Removed from O 3° Remanded from 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite th Paci pia under which you are filing (De not cite jurisdictional statutes untess diversity):
AY VEC ita.

 

VI. CAUSE OF ACTION

Brief description of cause:

E 5 hint <j TRIUPY SOT pe
a loTOL VEU ICUE ACS Ie sro NEGLIGENCE - BAER OREN IUR Ms COME E- ws omer

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanged in complaint. 7 "10 Om
COMPLAINT: UNDER RULE 23, F.R.Cv.P. BS0.0M, JURY DEMAND: a Yes ONo

VIII. RELATED CASE(S) _ ’
IF ANY eM ecee DOCKET NUMBER —__

 

 

DATE (1 \\q SIGWATU NN) ORNEY OF RECORD
Na

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
